                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Stephanie N. O'Banion
                                                                               FAX (314) 244-2780
 Acting Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                            April 26, 2024


Patrick M. Jaicomo
INSTITUTE FOR JUSTICE
Suite 900
901 N. Glebe Road
Arlington, VA 22203

       RE: 24-1875 Hamdi Mohamud v. Heather Weyker

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.

        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.




   Appellate Case: 24-1875         Page: 1           Date Filed: 04/26/2024 Entry ID: 5387450
      Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

          If you have any questions about the schedule or procedures for the case, please contact our
office.

                                                Stephanie N. O'Banion
                                                Acting Clerk of Court

ASL

Enclosure(s)

cc:       Anna Bidwell
          Clerk, U.S. District Court, District of Minnesota
          John A. Klassen
          Marie L. Miller
          Andrew Phillips Muller
          Paul C. Quast
          Anthony B. Sanders

              District Court/Agency Case Number(s): 0:17-cv-02069-JNE




      Appellate Case: 24-1875         Page: 2      Date Filed: 04/26/2024 Entry ID: 5387450
Caption For Case Number: 24-1875

Hamdi A. Mohamud

             Plaintiff - Appellee

v.

Heather Weyker, in her individual capacity as a St. Paul Police Officer

             Defendant - Appellant




     Appellate Case: 24-1875        Page: 3    Date Filed: 04/26/2024 Entry ID: 5387450
Addresses For Case Participants: 24-1875

Patrick M. Jaicomo
INSTITUTE FOR JUSTICE
Suite 900
901 N. Glebe Road
Arlington, VA 22203

Anna Bidwell
INSTITUTE FOR JUSTICE
Suite 900
901 N. Glebe Road
Arlington, VA 22203

Clerk, U.S. District Court, District of Minnesota
U.S. DISTRICT COURT
District of Minnesota
202 U.S. Courthouse
300 S. Fourth Street
Minneapolis, MN 55415-0000

John A. Klassen
JOHN A. KLASSEN, P.A.
700 Lumber Exchange Building
10 S. Fifth Street
Minneapolis, MN 55402

Marie L. Miller
INSTITUTE FOR JUSTICE
Suite 2160
3200 N. Central Avenue
Phoenix, AZ 85281

Andrew Phillips Muller
MULLER & MULLER
Suite 5010
310 Fourth Avenue, S.
Minneapolis, MN 55415

Paul C. Quast
U.S. DEPARTMENT OF JUSTICE
Civil Division, Constitutional & Specialized Tort Litigation
Ben Franklin Station
P.O. Box 7146
Washington, DC 20004-0000

Anthony B. Sanders
INSTITUTE FOR JUSTICE
P.O. BOX 315
Lindstrom, MN 55045



   Appellate Case: 24-1875         Page: 4      Date Filed: 04/26/2024 Entry ID: 5387450
